                        Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 1 of 7

AO 245.8 (Rev, 02118)   Judgment jn a Criminal Case
                        Sheet I

                                                                                                                          JAr; 1 g 2019
                                            UNITED STATES DISTRlCT COURT
                                                                                                                       Clerk, U,S 01S!nctCourt
                                                                 District of Montana                                      Olstnct O{ WIOTYtana
                                                                                                                               On:et ~·::tl!$
                                                                            )
               UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMI:"IAL CASE
                                    v.                                      )
                                                                            )
                        NOVA BIG LEGGINS                                           Case Number: CR 17-78-GF-BMM-02
                                                                            )
                                                                            )      USM Number: 17044-046
                                                                            )
                                                                            )       R. Hank Branom
                                                                            )      Defendl1Dt's Attorney
THE DEFENDANT:
Ii1l pleaded guilty to eount(s)          1 of the             lnfannation

o pleaded nolo contendere to connt(s)
   which was accepted by the eourt
Owas found guilty on count(s)
 after a plea of not guilty,

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature .(Offense                                                           OfTense Ended
 18 U.S.C. § 1153(a)(2)              Criminal Child Endangerment                                               June 2017                        1
 and M,CA § 45-5-628



       The defendant is sentenced as provided in pages 2 through           _...:..7_ _ of this judgment, The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984,
o The defendant has been found not guilty on eount(s)
   Count(s)     _____________ 0 is                                 o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until aU fines, restitution, costs, and special assessments imposed by this judgment are fully paid. [f ordered to pay re..;;titution,
the defenaant must notify the court and United States attorney of material changes in economiC circumstances.




                                                                           Brian Moms, Un ited States District Judge
                                                                          Name and Title of Judge


                                                                           111712019
                                                                          Da..
                      Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 2 of 7

AD 24:58 (Rev.02/18) Judgment in Criminal Case
                     Sheet 2   Imprisonment
                                                                                                      Judgment-Pa..,   _",,2_ of   7
 DEFENDANT: NOVA BIG LEGGINS
 CASE NUMBER: CR 17·78-GF-BMM-02

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a total
 termor:

  33 months.




     Il1 The court makes the following recommendations to the Bureau of Prisons:
  1. Placement in the Bureau of Prisons facility in Tallahassee. Florida, to allow her to be safe during her period of incarceration
  as she has had safety and other concerns with other people during her period of incarcera~on in Montana.
  2. Parucipation, if eligible. in the Bureau of Prisons 500 Residential Drug Alcohol Treatment Program.

     liZ! The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United Slates Marshal for this district:
       o at _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
           o   as notified by the United States MarshaL

     o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o before 2 p.m. on
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                       to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , wilh a certified copy ofthis judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                         By _________~~~~~~~~~~---------
                                                                                              DEPUTY UNITIID STATES MARSHAL
                           Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 3 of 7

AO 245B {Rev. OlliS) Judgment in a Criminal Case
                     Sheet 3 Supervised Release
                                                                                                                                            7
DEFENDANT: NOVA BIG LEGGINS
CASE NUMBER: CR 17-78-GF-BMM-02
                                                          SUPERVISED RELEASE
Upon release from imprisonment, you win be on supervised release for a term of:
     2 years,




                                                      MANDATORY CONDITIONS

1.      You must not commit another federal; state or local crime.
2.      You must not unlawfuHy possess a controlled substancc.
3.      You must refrain from any unlawful use ofa conU'olled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at teast two periodic drug tests thereafter, as determined by the CQurt.
                  o
                  The above drug testing condition is suspended~ based on the court's determination that you
                   pose a tow risk of future substance abuse. (check if«pplicable)
4,       0 You must make restitution in accordanee with 18 U$,C, §§ 3663 and 3663A or any other statute authorizing a sentence of
                restitution. (clm:k if applicabJej
5,       I!! You must cooperate in the collection of DNA as directed by the probation officer, (e/wet i/applicable)
6,       0      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U$,C. § 20901, el seq,) as
                directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                restde. work, are a student, Or were convicted of a qualifying offense. (cneci if appUcable)
7.       0 You must participate in an approved program for domestic violence. (dwck ifapplicable)




You must comply with the standard condition, that have been adopted by this court as wclla, with any other conditions on the attached
page.
                    Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 4 of 7

 AD 245B (Rev. 02l1S) Judgment in II Criminal Case
                      Sh«:t 3A - Supervised Release
                                                                                               Judgment   Pag< _ _",4,-_ of _ _...:.7___
DEFENDANT: NOVA BIG LEGGINS
CASE NUMBER: CR 17-78-GF-BMM-02

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep infonned. report to the court about, and bring about improvements in your conduet and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from irnprisonmcnt~ unless the probation offieer instruets you to report to a different probation office or within a different time
      frame.
2,    After initially reporting to the probation office> you will recejve instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed,
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation offieer.
4.    You must answer truthfully the questions asked by your probation offieer.
S.    You must live at a place approved by the probation officer. If you plan to change where you live or anything ahout your living
      arrangements (sueb as the people you live witb), you must notifY the probation officer at least 10 days before the cbange, If notifying
      the probation officer in advance is not possible due to unanticipated clreurnstances. you must notify the probation offieer within 72
      hours of becoming aware of a ehange or expected change,
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must pennit the probation officer to
      take any items prohibited by the eonditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at • lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not bave full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to cbange wbere you work or anything about your work (sueb as your position or your job
      responsibilities), you must notifY the probation officer at least 10 days before the change. IfnotilYing the probation officer at least I 0
      days in advance is not possible due to unantieipated eircumstunees) you must notifY the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      eonvicted of a felony, you must not knowingly communicate or interact with that person without first getting the pennission of the
      probation officer
9.    (f you are arrested or questioned by a law enforcement offieer. you must notifY the probation officer within 72 hours.
10.   You must not own, possess, or have access to a fireaml, ammunition~ destructive device~ or qangerous \\'el.lpOn (i.e., anything that was
      designed, or was modified for, tbe specific purpose of causing bodily injury or death to another person sucb as mm.baku, or tasers).
Il.   You must not act or make any agreement with a law enforcement agency to act as a eonfidential human source or informant without
      first getting the pennission of the court.
12.   lfthe probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must eomply with that instruction. The probation officer may contact the
      person and confirm that you bave notified the person about the risk.
13,   You must foHow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. prObation officer has instrueted me on the condition.." speeified by the court and has provided me with a written copy of this
judgment containing these conditions. For further infonnation regarding these conditions, see Overview ofProbation and Supervised
Release ConditiOns, available at: WW\v.uscoum.gov.


Defendant's Signature                                                                                     D.te _ _ _ _ _ _ _ _ _ __
                   Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 5 of 7
AO 245B(Rev. 02/1 a) Judgment in a Criminal Case
                     Sheet 3D - Supervjsed Release
                                                                              JudJ!Illent ·Page ~ 01      1
DEFENDANT: NOVA BIG LEGGINS
CASE NUMBER: CR 17-78-GF-BMM-02

                                        SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall have no contact with the victim in the instant offense without the prior written
approval of the United States Probation Office.

2. The defendant shall participate in a program for mental health treatment as deemed necessary by
the United States Probation Office, until such time as the defendant is released from the program by
the probation office. The defendant is to pay part or all of the cost of this treatment, as directed by the
United States Probation Office.

3. The defendant shall participate in and complete successfully a program of substance abuse
treatment as approved by the United States Probation Office, until the defendant is released from the
program by the probation office. The defendant is to pay part or all of the cost of this treatment, as
directed by the United States Probation Office.

4. The defendant shall submit her person, residence, vehicles, and papers, to a search, with or without
a warrant by any probation officer based on reasonable suspicion of contraband or evidence in
violation of a condition of release. Failure to submit to search may be grounds for revocation. The
defendant shall wam any other occupants that the premises may. be SUbject to searches pursuant to
this condition. The defendant shall allow seizure of suspected contraband for further examination.

5. The defendant shall abstain from the consumption of alcohol and shall not enter establishments
where alcohol is the primary item of sale.

6. The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis
tests, not more than 104 breathalyzer tests, and not more than 36 sweat patch applications annually
during the period of supervision. The defendant shall pay all or part of the costs of testing as directed
by the United States Probation Office.

7. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to,
synthetic marijuana and/or any other stimulants that are not manufactured for human consumption, for
the purpose of altering her mental or physical state.

8. The defendant shall not purchase, possess, use, distribute, or administer marijuana, or obtain or
possess a medical marijuana card or prescription.
                      Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 6 of 7
AO 145B (Rev.021l8)   Judgment in a Criminal Case
                      Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgmen.    Pall" _-,6,-_ of           7
DEFENDANT: NOVA BIG LEGGINS
CASE NUMBER: CR 17-78-GF-BMM-02
                                              CRJMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of pa~ments on Sheet 6.


                       Assessment                  JVTA Assessment'          Fine                         Restitution
 TOTALS            $ 100.00                    $ N/A                       $ WAIVED                     $ N/A


 o The determination of restitution is deferred until         _ _ _ • An Amended Judgment in " Criminal Case (AD USC) will he entered
     after such detennination.

 o The defendant must make restitution (including community restitution) to the folio"ing payees in the amount listed below.
     If the defendant makes a partial paymem, each payee shall reeeive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(.), all noofederal victims must be paid
     before tile United States is prud.                                                      •

 ;\lame of Payee                                                 Total Loss*'"           Restitutio" Ordered            Priority or Percentagf




TOTALS                              $ _ _ _ _ ~_.::::O...::OO=_          $ _ _ _ _ _ _ _~O=.O~O


o     Restitution amount ordered pursuant to plea agreement $

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day afler the date of the judgment, pursuant to 18 U.s.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S ,C. § 3612{g).

o     Tile court detennined thaI lhe defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the o fine 0 restitution.
      o the interest requirement for the o fine 0 restitution is modified as follows:
• Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22,
•• Findings for the total amount oflosses are required under Chapters 109A, llO, IIOA, and 113A ofTitle ]8 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                       Case 4:17-cr-00078-BMM Document 113 Filed 01/18/19 Page 7 of 7
AO 2458 (Rev 02118) Judgment in a Criminal Case
                        Sheet 6 - Schedule ofrayments
                                                                                                                                  7_ of
                                                                                                               Judgment - Page: _ _                     7
DEFENDANT: NOVA BIG LEGGINS
CASE NUMBER: CR 17-76-GF-BMM-02


                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary pcnaities is due as follows:

A     D Lump sum payment of $ _ _ _ _ _ _ _ due immediately, balance due

             D      not later than ~~=--=-_=-;:---,=-' or
             D      in aceordanee with D C, D D,   D E, or                       D Fbe!ow; or
B     D      Payment to begin immediately (may be combined with               DC,          D D, or      D F below); or
C     D      Payment in equal                     (e.g., week!;>, monthly, quarter!YJ installments of S                              over a period of
            _ _ _ _ _ (e.g., month:; or yeor.i), to commence                         (e.g., 30 or 60 days) after the dat<: of this judgment; or

D     D Payment in equal                             (e.g., weeidy, monthly, qlUlJ'terly) installments of $                          over. period of
            _ _-::_ _ (e.g.) montJu or years), to commence                              (e.g., 30 or 60 days) after releas.e from imprisonment to a
             term of supervlsion; or

E     0      Payment during the term of supervised releas.e will commence v,ithin                (e.g., 30 aT 60 days) after release from
             imprisonment. The court will set the payment plan based 00 an assessment of the defendant's ability to pay at that time; or

F     III    Special instructions regarding the payment ofcriminal monetary penalties,

              Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
              payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
              the Bureau of Prisons' Inmate Financial Responsibility Program, Criminal monetary payments shall be made to
              the Clerk, United Stales District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
              Falls, MT 59404, ""Assessment Nova Big Leggins",
Unless the court has expresstyordered otherwise! if this judgment imposes imprisonment, payment ofcriminal monetarypenaities is due during
the period of imprisonment, AU criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court,

The defendant shaH reecive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (includlngdejendant number), Tor.l Amount, Joint and Several Amount,
     and corresponding payee. if appropriate.




D    The defendant shalf pay the cost of prosecution,

D    The defendant shan pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments .hall be applied in the following order: (\) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution. (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
